Case 14-10979-CSS Doc9011-2 Filed 07/26/16 Page 1 of 14

EXHIBIT A

Proposed Order

RLFI 14897549v,1

Case 14-10979-CSS Doc9011-2 Filed 07/26/16 Page 2 of 14

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., ef ai.,' Case No. 14-10979 (CSS)

Debtors. (Jointly Administered)

ORDER GRANTING DEBTORS’ MOTION
FOR ENTRY OF AN ORDER (D) SCHEDULING HEARING
DATES AND CERTAIN DEADLINES AND ESTABLISHING CERTAIN
PROCEDURES IN CONNECTION WITH ADJUDICATING CONTESTED
OBJECTIONS TO PRO SE CLAIMS AND (Il) APPROVING NOTICE THEREOF

Upon the motion (the “Motion” of the above-captioned debtors and debtors in
possession (collectively, the “Debtors”), for entry of an order (this “Order”), scheduling certain
dates and deadlines and establishing certain procedures in connection with the adjudication of
the Contested Pro Se Claims, and (b) approving the forms of Notice of the Pro Se Claims
Hearing; and the Court having found that it has jurisdiction over this matter pursuant to
28 U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding pursuant to
28 U.S.C. § 157(b)(2); and the Court having found that venue of these cases and the Motion in
this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having found that
the relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors,

and other parties in interest; and the Court having found that the Debtors provided appropriate

' The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The
location of the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large
number of debtors in these chapter 11 cases, for which joint administration has been granted, a complete
list of the debtors and the last four digits of their federal tax identification numbers is not provided
herein. A complete list of such information may be obtained on the website of the debtors’ claims and
noticing agent at http://www.efhcaseinfo.com.

* Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to
them in the Motion.

RLF 1 14897549v.1

Case 14-10979-CSS Doc9011-2 Filed 07/26/16 Page 3 of 14

notice of the Motion and the opportunity for a hearing on the Motion (the “Hearing”) under the
circumstances; and the Court having reviewed the Motion and having heard the statements in
support of the relief requested therein at the Hearing, if any; and the Court having determined
that the legal and factual bases set forth in the Motion and at the Hearing establish just cause for
the relief granted herein; and upon all of the proceedings had before the Court; and after due
deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:
1. The Motion is granted as set forth herein.
2, The following Procedures are hereby approved:
a. Friday, August 19, 2016, shall be the date by which the Debtors shall
serve a customized notice of the Pro Se Claims Hearings and these
Procedures, substantially in the form attached as Exhibit 1 or Exhibit 2 to
Exhibit A (the “Notice”), as applicable, upon the Pro Se Claimants. The
Notice shall include a customized questionnaire, substantially in the form
attached as Exhibit 3 to Exhibit A (the “Questionnaire”) requesting

information regarding the Pro Se Claimants’ participation in the Pro Se
Claims Hearings, including their preferred date.

b. Monday, September 19, 2016, shall be the date by which Pro Se
Claimants must file with the Court a formal response to the Objection
(each, a “Formal Response”) if they have not already done so
(the “Claimant Response Deadline”). If no Formal Response regarding a
Contested Pro Se Claim is received by the Claimant Response Deadline,
the relevant Pro Se Claimant will be deemed to consent to the relief
requested in the applicable Objection and, upon order of the Court, the
Contested Pro Se Claim will be disallowed and expunged (or modified, if
applicable) from the Claims Register.

c. Monday, September 19, 2016, shall be the date by which Pro Se
Claimants must return the Questionnaire to the Debtors
(the “Questionnaire Deadline”), Any Pro Se Claimant who does not
submit a Questionnaire by the Questionnaire Deadline will not be allowed
to participate in the Pro Se Claims Hearings absent further order of the
Court.

d. Friday, October 21, 2016, shall be the date by which the Debtors must
file their omnibus reply to all Formal Responses to the Objections that
were filed on or before the Claimant Response Deadline (the “Debtors’
Reply”). The Debtors will serve a copy of the Debtors’ Reply on each Pro
Se Claimant who timely filed a Formal Response.

RLF1 14897549v.1 2

Case 14-10979-CSS Doc9011-2 Filed 07/26/16 Page 4 of 14

e. November 8, 2016 at 10:00 a.m. (ET) shall be the date of the first Pro Se
Claims Hearing. Oral argument shall be limited to ten minutes per Proof
of Claim, except as otherwise ordered by the Court, allocation of time
between the parties to be determined.

f. December 13, 2016 at 10:00 a.m. (ET) shall be the date of the second
Pro Se Claims Hearing. Oral argument shall be limited to ten minutes per
Proof of Claim, except as otherwise ordered by the Court, allocation of
time between the parties to be determined.

3. The forms of Notice, attached hereto as Exhibit 1 and Exhibit 2, are hereby

approved.
4, The form of Questionnaire, attached hereto as Exhibit 3, is hereby approved.
5. The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.
6, This Court shall retain exclusive jurisdiction to resolve any dispute arising from
or related to this Order.

Dated: August , 2016
Wilmington, Delaware

THE HONORABLE CHRISTOPHER S. SONTCHI
UNITED STATES BANKRUPTCY JUDGE

RLF 14897549v.1 3

Case 14-10979-CSS Doc9011-2 Filed 07/26/16 Page 5 of 14

Exhibit 1 to Exhibit A

Form of Notice to Claimants Who Have Not Filed Formal Responses to Date

RLF! 14897549y.1

Case 14-10979-CSS Doc9011-2 Filed 07/26/16 Page 6 of 14

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., et al,,! Case No. 14-10979 (CSS)

Debtors. (Jointly Administered)

NOTICE OF (1) HEARINGS ON CONTESTED OBJECTIONS TO PRO SE CLAIMS AND
RELATED DEADLINES AND (Il) PROCEDURES IN CONNECTION THEREWITH

TO: [NAME] Claim Number(s) Claim Amount(s)
[STREET ADDRESS] Claim(s) to be Disallowed: [HEE] [####]
[CITY], [STATE] [ZIP]
[COUNTRY] HEARING DATE: [ ] at 10:00 am. ET

([First/Second] Pro Se Claims Hearing)

You are receiving this Notice because the Debtors’ records reflect that you have filed a claim to
which an Objection is currently pending. Please read this Notice carefully.

On [e], 2016, the Court entered the Order (1) Scheduling A Hearing Date and Certain Deadlines
and Establishing Certain Procedures in Connection with Adjudicating Contested Objections to Pro Se
Claims and (II) Approving Notice Thereof (the “Order”),’ establishing certain deadlines and protocols in
connection with the adjudication of your claim:

Deadline Date

Claimant Response Deadline September 19, 2016
Deadline to Submit Questionnaire September 19, 2016
Debtors’ Reply Deadline October 21, 2016
First Pro Se Claims Hearing November 8, 2016
Second Pro Se Claims Hearing December 13, 2016

RESPONSES TO THE OBJECTION:

The Debtors understand that you may oppose the relief requested in the Objection. If you do
oppose the relief requested in the Objection to your claim, you must file a response with the Court
by September 19, 2016. If you no longer oppose the relief sought in the Objection, there is no need to
file a response. Responses to the Objection, if any, must be in writing and mailed to the United

' The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The
location of the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large
number of debtors in these chapter 11 cases, for which joint administration has been granted, a complete
list of the debtors and the last four digits of their federal tax identification numbers is not provided
herein. A complete list of such information may be obtained on the website of the debtors’ claims and
noticing agent at http://www.efhcaseinfo.com.

* Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them
in the Order, of copy of which is included with this Notice.

RLF1 14897549y.1

Case 14-10979-CSS Doc9011-2 Filed 07/26/16 Page 7 of 14

States Bankruptcy Court for the District of Delaware, 824 North Market Street, 3rd Floor,
Wilmington, Delaware 19801.

IF NO RESPONSE TO THE OBJECTION IS FILED WITH THE COURT BY THE CLAIMANT
RESPONSE DEADLINE, YOUR CLAIM WILL BE DISALLOWED AND REMOVED FROM
THE REGISTER WITHOUT FURTHER NOTICE OR HEARING.

PARTICIPATION IN THE HEARING:

If you intend to participate in the hearing concerning your claim, you must fill out and
return the Questionnaire included with this Notice by September 19, 2016. You have been assigned
to one of two hearing dates. Your hearing date is noted in the chart at the beginning of this Notice. If you
wish to be reassigned to the other hearing date, please check the box in question 1 of the Questionnaire.
Completed Questionnaires should be returned, in the postage pre-paid envelope provided, to
Kirkland & Ellis LLP, Attn: Rebecca Chaikin, 601 Lexington Avenue, New York, New York,
10022.

IF THE QUESTIONNAIRE IS NOT RECEIVED BY THE DEADLINE,
YOU WILL NOT BE ALLOWED TO PARTICIPATE IN THE HEARING
ABSENT FURTHER ORDER OF THE COURT.

The Pro Se Claims Hearing will be held before the Honorable Christopher S. Sontchi in the
United States Bankruptcy Court for the District of Delaware, 824 North Market Street, 5th Floor,
Courtroom No. 6, Wilmington, Delaware 19801.

If you wish to participate by telephone, you may do so for a fee by calling CourtCall at least
three days before the hearing to schedule a speaking appearance. CourtCall can be reached at
(866) 582-6878 or (310) 743-1886. Remember to keep the instructions provided by CourtCall regarding
how to participate in the hearing. It is the participant’s responsibility to dial into the hearing at least ten
minutes prior to the scheduled hearing by dialing (888) 603-6867; provide to the operator your name and
that you are appearing as a “Pro Se Claimant” in front of Judge Sontchi of the Bankruptcy Court for the
District of Delaware in the matter of Energy Future Holdings Corp., case number 14-10979,

The hearing with respect to each claim shall be limited to a maximum of ten (10) minutes, except
as otherwise ordered by the Court.

If you have questions about this Notice, the Questionnaire, or the Order, please leave a message
at (844) 415-6962 (including your phone number and that your call is concerning the “EFH Pro Se Claims
Hearing”) or send your contact information to efhcorrespondence@kirkland.com (and write “EFH Pro Se
Claims Hearing” in the subject line), both free of charge.

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RLF1 14897549v.1 2

Case 14-10979-CSS Doc9011-2 Filed 07/26/16 Page 8 of 14

Dated: , 2016

Wilmington, Delaware

RLF1 14897549v.1

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Daniel J. DeFranceschi (No. 2732)

Jason M, Madron (No. 4431)

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-and-

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Co-Counsel to the Debtors and Debtors in Possession

Case 14-10979-CSS Doc9011-2 Filed 07/26/16 Page 9 of 14

Exhibit 2 to Exhibit A

Form of Notice to Claimants Who Have Filed Formal Responses

RLF1 14897549v.1

Case 14-10979-CSS Doc9011-2 Filed 07/26/16 Page 10 of 14

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., ef ai.,' Case No. 14-10979 (CSS)

Debtors, (Jointly Administered)

Nee Ne Ne ee ee ee

NOTICE OF (1) HEARINGS ON CONTESTED OBJECTIONS TO PRO SE CLAIMS AND
RELATED DEADLINES AND (IJ) PROCEDURES IN CONNECTION THEREWITH

TO: [NAME] Claim Number(s) Claim Amount(s)
[STREET ADDRESS] Claim(s) to be Disallowed: [AHH] [HHH]
[CITY], [STATE] [ZIP]
[COUNTRY] Docket Number(s)
Response(s) Filed: [FHF]
HEARING DATE: [ | at 10:00 am. ET

([First/Second] Pro Se Claims Hearing)

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connection with the adjudication of your claim:

Deadline Date

Deadline to Submit Questionnaire September 19, 2016
Debtors’ Reply Deadline October 21, 2016
First Pro Se Claims Hearing November 8, 2016
Second Pro Se Claims Hearing December 13, 2016

Because you have already filed a formal response to the Objection, you are not required to file an
additional response.

PARTICIPATION IN THE HEARING:

' The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The
location of the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large
number of debtors in these chapter 11 cases, for which joint administration has been granted, a complete
list of the debtors and the last four digits of their federal tax identification numbers is not provided
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in the Order, of copy of which is included with this Notice.

RLF1 14897549v.1

Case 14-10979-CSS Doc9011-2 Filed 07/26/16 Page 11 of 14

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return the Questionnaire included with this Notice by September 19, 2016. You have been assigned
to one of two hearing dates. Your hearing date is noted in the chart at the beginning of this Notice. If you
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The hearing with respect to each claim shall be limited to a maximum of ten (10) minutes, except
as otherwise ordered by the Court.

If you have questions about this Notice, the Questionnaire, or the Order, please leave a message
at (844) 415-6962 (including your phone number and that your call is concerning the “EFH Pro Se Claims

Hearing”) or send your contact information to efhcorrespondence@kirkland.com (and write “EFH Pro Se
Claims Hearing” in the subject line), both free of charge.

[Remainder of page intentionally left blank. |

RLFI 14897549v.1 2

Case 14-10979-CSS Doc9011-2 Filed 07/26/16 Page 12 of 14

Dated: , 2016

Wilmington, Delaware

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Case 14-10979-CSS Doc9011-2 Filed 07/26/16 Page 13 of 14

Exhibit 3 to Exhibit A

Questionnaire

RLF1 14897549v.1

Case 14-10979-CSS Doc9011-2 Filed 07/26/16 Page 14 of 14

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

)
In re: ) Chapter 11
)
ENERGY FUTURE HOLDINGS CORP., ef ai.,' ) Case No. 14-10979 (CSS)
)
Debtors. ) (Gointly Administered)
)
QUESTIONNAIRE
TO: [NAME] Claim Number(s) Claim Amount(s)
[STREET ADDRESS] Claim(s) to be Disallowed: [#4##] [####]
[CITY], [STATE] [ZIP]
[COUNTRY] Docket Number(s)
Response(s) Filed: [None/ ####]
ASSIGNED HEARING: [ ] at 10:00 a.m. ET
([First/Second] Pro Se Claims Hearing)
ALTERNATIVE HEARING: at 10:00 am. ET

([First/Second] Pro Se Claims Hearing)

IF THIS QUESTIONNAIRE IS NOT RECEIVED BY SEPTEMBER 19, 2016, YOU WILL NOT BE
ALLOWED TO PARTICIPATE IN THE HEARING CONCERNING YOUR CLAIM ABSENT
FURTHER ORDER OF THE COURT.

If you no longer wish to oppose the Objection to your claim, which will result in your claim
being disallowed and expunged from the Claims Register, there is no need to complete this
Questionnaire.

1, The hearing on your claim will go forward at the date and time noted above as the “Assigned
Hearing.” Please check the following box if you would prefer to participate in the hearing at
the date and time noted as the “Alternative Hearing”:

O I would like to be reassigned to the Alternative Hearing Date.

2. I will participate in the hearing:

CO) In person. The hearing will take place before the Honorable Christopher S. Sontchi in the
United States Bankruptcy Court for the District of Delaware, 824 North Market Street, 5th
Floor, Courtroom No. 6, Wilmington, Delaware 19801.

CO By telephone. I will follow the instructions on the Notice to set up a telephonic appearance
with CourtCall.

' The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of
the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, for which joint administration has been granted, a complete list of the debtors and the last four digits
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